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 )LOO LQ WKLV LQIRUPDWLRQ WR LGHQWLI\ WKH FDVH
 'HEWRU     (GZDUG &KULVWLDQ 0HQNH ,,,

 'HEWRU     .DWKOHHQ $ 0HQNH

  6SRXVH LI ILOLQJ

 8QLWHG 6WDWHV %DQNUXSWF\ &RXUW IRU WKH ($67(51 'LVWULFW RI 3(116</9$1,$

 &DVH QXPEHU DPF

2IILFLDO )RUP 6
1RWLFH RI 0RUWJDJH 3D\PHQW &KDQJH                                                                                                                  
,I WKH GHEWRU¶V SODQ SURYLGHV IRU SD\PHQW RI SRVWSHWLWLRQ FRQWUDFWXDO LQVWDOOPHQWV RQ \RXU FODLP VHFXUHG E\ D VHFXULW\ LQWHUHVW LQ WKH GHEWRU¶V
SULQFLSDO UHVLGHQFH \RX PXVW XVH WKLV IRUP WR JLYH QRWLFH RI DQ\ FKDQJHV LQ WKH LQVWDOOPHQW SD\PHQW DPRXQW )LOH WKLV IRUP DV D VXSSOHPHQW
WR \RXU SURRI RI FODLP DW OHDVW  GD\V EHIRUH WKH QHZ SD\PHQW DPRXQW LV GXH 6HH %DQNUXSWF\ 5XOH 

1DPH RI FUHGLWRU )HGHUDO +RPH /RDQ 0RUWJDJH &RUSRUDWLRQ DV &RXUW FODLP QR LI NQRZQ  
7UXVWHH IRU WKH EHQHILW RI WKH )UHGGLH 0DF 6HDVRQHG /RDQV
6WUXFWXUHG 7UDQVDFWLRQ 7UXVW 6HULHV 
/DVW  GLJLWV RI DQ\ QXPEHU \RX XVH WR                       'DWH RI SD\PHQW FKDQJH 
LGHQWLI\ WKH GHEWRU¶V DFFRXQW                           0XVW EH DW OHDVW  GD\V DIWHU GDWH
                                                                                 RI WKLV QRWLFH

                                                                                 1HZ WRWDO SD\PHQW 
                                                                                 3ULQFLSDO LQWHUHVW DQG HVFURZ LI DQ\

 3DUW        (VFURZ $FFRXQW 3D\PHQW $GMXVWPHQW

       :LOO WKHUH EH D FKDQJH LQ WKH GHEWRU¶V HVFURZ DFFRXQW SD\PHQW"

         Ƒ 1R
         Ŷ <HV        $WWDFK D FRS\ RI WKH HVFURZ DFFRXQW VWDWHPHQW SUHSDUHG LQ D IRUP FRQVLVWHQW ZLWK DSSOLFDEOH QRQEDQNUXSWF\ ODZ 'HVFULEH
                       WKH EDVLV IRU WKH FKDQJH ,I D VWDWHPHQW LV QRW DWWDFKHG H[SODLQ ZK\
                       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

         &XUUHQW HVFURZ SD\PHQW                             1HZ HVFURZ SD\PHQW 


 3DUW        0RUWJDJH 3D\PHQW $GMXVWPHQW

       :LOO WKH GHEWRU¶V SULQFLSDO DQG LQWHUHVW SD\PHQW FKDQJH EDVHG RQ DQ DGMXVWPHQW WR WKH LQWHUHVW UDWH RQ WKH GHEWRU V
          YDULDEOHUDWH DFFRXQW"

         Ŷ 1R
         Ƒ <HV       $WWDFK D FRS\ RI WKH UDWH FKDQJH QRWLFH SUHSDUHG LQ D IRUP FRQVLVWHQW ZLWK DSSOLFDEOH QRQEDQNUXSWF\ ODZ ,I D QRWLFH LV QRW DWWDFKHG
                        H[SODLQ ZK\
                        BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

         &XUUHQW LQWHUHVW UDWH                                   1HZ LQWHUHVW UDWH

         &XUUHQW SULQFLSDO DQG LQWHUHVW SD\PHQW          1HZ SULQFLSDO DQG LQWHUHVW SD\PHQW


 3DUW        2WKHU 3D\PHQW &KDQJH

       :LOO WKHUH EH D FKDQJH LQ WKH GHEWRU V PRUWJDJH SD\PHQW IRU D UHDVRQ QRW OLVWHG DERYH"

         Ŷ 1R
         Ƒ <HV        $WWDFK D FRS\ RI DQ\ GRFXPHQW GHVFULELQJ WKH EDVLV IRU WKH FKDQJH VXFK DV D UHSD\PHQW SODQ RU ORDQ PRGLILFDWLRQ DJUHHPHQW
                      &RXUW DSSURYDO PD\ EH UHTXLUHG EHIRUH WKH SD\PHQW FKDQJH FDQ WDNH HIIHFW

                      5HDVRQ IRU FKDQJH BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

         &XUUHQW PRUWJDJH SD\PHQW                          1HZ PRUWJDJH SD\PHQW




2IILFLDO )RUP 6                                  1RWLFH RI 0RUWJDJH 3D\PHQW &KDQJH                                                SDJH 
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'HEWRU  (GZDUG &KULVWLDQ 0HQNH ,,,                                       &DVH QXPEHU LI NQRZQ DPF
           3ULQW 1DPH          0LGGOH 1DPH      /DVW 1DPH




 3DUW       6LJQ +HUH


 7KH SHUVRQ FRPSOHWLQJ WKLV 1RWLFH PXVW VLJQ LW 6LJQ DQG SULQW \RXU QDPH DQG \RXU WLWOH LI DQ\ DQG VWDWH \RXU DGGUHVV DQG
 WHOHSKRQH QXPEHU

 &KHFN WKH DSSURSULDWH ER[
      Ƒ , DP WKH FUHGLWRU
      Ŷ , DP WKH FUHGLWRU¶V DXWKRUL]HG DJHQW

 , GHFODUH XQGHU SHQDOW\ RI SHUMXU\ WKDW WKH LQIRUPDWLRQ SURYLGHG LQ WKLV FODLP LV WUXH DQG FRUUHFW WR WKH EHVW RI P\ NQRZOHGJH
 LQIRUPDWLRQ DQG UHDVRQDEOH EHOLHI

                                                               10/24/2024
     V Michelle L. McGowan                           'DWH
     6LJQDWXUH


                        Michelle L. McGowan
  3ULQW                                                                                                        7LWOH   $XWKRUL]HG $JHQW IRU &UHGLWRU
                        )LUVW 1DPH                      0LGGOH 1DPH        /DVW 1DPH


  &RPSDQ\               5REHUWVRQ $QVFKXW] 6FKQHLG &UDQH           3DUWQHUV 3//&


  $GGUHVV                0RUULV 5RDG 6XLWH 
                        1XPEHU               6WUHHW


                        $OSKDUHWWD *$ 
                        &LW\                                                    6WDWH      =,3 &RGH

  &RQWDFW 3KRQH         
                                                                                                                       mimcgowan@raslg.com
                                                                                                               (PDLO BBBBBBBBBBBBBBBBBBBBBBB




2IILFLDO )RUP 6                                         1RWLFH RI 0RUWJDJH 3D\PHQW &KDQJH                                                 SDJH 
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                                        &(57,),&$7( 2) 6(59,&(

                                          December 19, 2024
               , +(5(%< &(57,)< WKDW RQ BBBBBBBBBBBBBBBBBBBB , HOHFWURQLFDOO\ ILOHG WKH IRUHJRLQJ ZLWK
WKH &OHUN RI &RXUW XVLQJ WKH &0(&) V\VWHP DQG D WUXH DQG FRUUHFW FRS\ KDV EHHQ VHUYHG YLD 8QLWHG 6WDWHV
0DLO WR WKH IROORZLQJ

(GZDUG &KULVWLDQ 0HQNH ,,,
 /RUU\ 3O
3KLODGHOSKLD 3$ 

.DWKOHHQ $ 0HQNH
 /RUU\ 3O
3KLODGHOSKLD 3$ 

$QG YLD HOHFWURQLF PDLO WR

0,&+$(/ $ &,%,.
&LELN /DZ 3&
 :DOQXW 6WUHHW
6XLWH 
3KLODGHOSKLD 3$ 

6&277 ) :$7(50$1 >&KDSWHU @
&KDSWHU  7UXVWHH
 6W /DZUHQFH $YH
6XLWH 
5HDGLQJ 3$ 

8QLWHG 6WDWHV 7UXVWHH
2IILFH RI 8QLWHG 6WDWHV 7UXVWHH
5REHUW 1& 1L[ )HGHUDO %XLOGLQJ
 0DUNHW 6WUHHW
6XLWH 
3KLODGHOSKLD 3$ 




                                                  %\ V Jai Young
                                                 __________________
                                                          Jai Young




2IILFLDO )RUP 6                 1RWLFH RI 0RUWJDJH 3D\PHQW &KDQJH                    SDJH 
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If your account is set up on a monthly automatic withdrawal payment option, your monthly payment withdrawal amount will be
updated according to the adjusted payment above once the escrow analysis becomes effective. If you have any questions or
concerns, please contact our Customer Service Department. Our toll-free number is 800-258-8602 and representatives are
available Monday through Friday between the hours of 8 a.m. and 9 p.m., and Saturday from 8 a.m. to 2 p.m., Eastern Time. You
may also visit our website at www.spservicing.com.

Sincerely,

Select Portfolio Servicing, Inc.

   Esta carta contiene información importante concerniente a sus derechos. Por favor, traduzca esta carta. Nuestros
representantes bilingües están a su disposición para contestar cualquier pregunta. Llamenos al numero 800-831-0118 y
                                            seleccione/marque la opción 2.

     This information is intended for informational purposes only and is not considered an attempt to collect a debt.




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